 Fill in this information to identify the case:
 Debtor 1
                 Vincent Graham
 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the: Middle District of Pennsylvania
                                                                    (State)

 Case number 5:23-bk-00162-MJC



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15


If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank Trust National Association                        Court claim no. (if known): 10-1
as Trustee for the Igloo Series IV Trust
                                                                              Date of payment change:                      05/01/2024
                                                                              Must be at least 21 days after date
Last four digits of any number you                   4242                     of this notice
use to identify the debtor's account:



                                                                              New total payment:                           $1,357.20
                                                                              Principal, interest, and escrow if any



 Part 1:         Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No

      Yes              Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:        $ 690.71                         New escrow payment:         $ 757.09

Part 2:          Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
       No
                       Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
       Yes             ____________________________________________________________________________________________
                       Current Interest Rate:                                        New interest rate:
                       Current principal and interest payment:       $                 New principal and interest payment:       $
Part 3:          Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
                       Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
        Yes            agreement. (Court approval may be required before the payment change can take effect)

                       Reason for change: ____________________________________________________________________________

                       Current mortgage payment:         $                             New mortgage payment:           $




Official Form 410S1                                          Notice of Mortgage Payment Change                                                  Page 1

       Case 5:23-bk-00162-MJC                          Doc Filed 03/21/24 Entered 03/21/24 10:32:31                                      Desc
                                                       Main Document   Page 1 of 8
Debtor 1     Vincent Graham                                                             Case Number (if known)   5:23-bk-00162-MJC
             First Name                Middle Name         Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
       I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

  /s/ Lauren Moyer, Esq                                                         Date     03/21/2024
     Signature


 Print:                   Lauren Moyer                                                     Title    Attorney for Creditor
                          First name         Middle Name   Last name

 Company                  Friedman Vartolo LLP

 Address                  1325 Franklin Avenue, Suite 160,
                          Number                Street

                          Garden City           NY          11530
                          City                  State      Zip Code

 Contact phone            212) 471-5100                    Email:      bankruptcy@friedmanvartolo.com




Official Form 410S1                                        Notice of Mortgage Payment Change                                         Page 2




      Case 5:23-bk-00162-MJC                             Doc Filed 03/21/24 Entered 03/21/24 10:32:31                          Desc
                                                         Main Document   Page 2 of 8
                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2771 o 2750
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #5985
                                                                                                            Branch Office NMLS #9785




              ROBERTA GRAHAM
              C/O VINCENT GRAHAM
              585 MCKINLEY ST
              HAZLETON PA 18201


Analysis Date: March 13, 2024                                                                                                           Final
Property Address: 585-587 MCKINLEY STREET HAZLETON, PA18201                                                              Loan:
                                      Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from Feb 2023 to Apr 2024. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:     Effective May 01, 2024:             Escrow Balance Calculation
 Principal & Interest Pmt:               600.11                600.11              Due Date:                                   Apr 01, 2018
 Escrow Payment:                         690.71                757.09              Escrow Balance:                              (29,794.87)
 Other Funds Payment:                      0.00                   0.00             Anticipated Pmts to Escrow:                   41,652.76
 Assistance Payment (-):                   0.00                   0.00             Anticipated Pmts from Escrow (-):              2,618.05
 Reserve Acct Payment:                     0.00                   0.00             Anticipated Escrow Balance:                    $9,239.84
  Total Payment:                       $1,290.82                $1,357.20


                     Payments to Escrow        Payments From Escrow                                 Escrow Balance
       Date          Anticipated   Actual      Anticipated     Actual         Description           Required       Actual
                                                                          Starting Balance           3,453.57    (18,975.94)
      Feb 2023          690.71                                        *                              4,144.28    (18,975.94)
      Feb 2023                                               1,733.91 * School Tax                   4,144.28    (20,709.85)
      Mar 2023          690.71                                        *                              4,834.99    (20,709.85)
      Mar 2023                                                 798.00 * City/Town Tax                4,834.99    (21,507.85)
      Mar 2023                                                 747.87 * County Tax                   4,834.99    (22,255.72)
      Mar 2023                                                 553.47 * City/Town Tax                4,834.99    (22,809.19)
      Mar 2023                                                 518.71 * County Tax                   4,834.99    (23,327.90)
      Apr 2023          690.71                     726.15             * County Tax                   4,799.55    (23,327.90)
      Apr 2023                                     503.65             * County Tax                   4,295.90    (23,327.90)
      Apr 2023                                     798.00             * City/Town Tax                3,497.90    (23,327.90)
      Apr 2023                                     553.47             * City/Town Tax                2,944.43    (23,327.90)
      May 2023          690.71                                        *                              3,635.14    (23,327.90)
      Jun 2023          690.71                                        *                              4,325.85    (23,327.90)
      Jul 2023          690.71                                        *                              5,016.56    (23,327.90)
      Aug 2023          690.71                                        *                              5,707.27    (23,327.90)
      Aug 2023                                               1,460.39 * School Tax                   5,707.27    (24,788.29)
      Aug 2023                                                 571.12 * School Tax                   5,707.27    (25,359.41)
      Sep 2023          690.71                   1,733.91             * School Tax                   4,664.07    (25,359.41)
      Sep 2023                                     588.27             * School Tax                   4,075.80    (25,359.41)
      Oct 2023          690.71                   3,385.09    4,435.46 * Homeowners Policy            1,381.42    (29,794.87)
      Nov 2023          690.71                                        *                              2,072.13    (29,794.87)

           Case 5:23-bk-00162-MJC               Doc Filed 03/21/24 Entered 03/21/24 10:32:31                                Page 1
                                                                                                                         Desc
                                                Main Document   Page 3 of 8
Dec 2023            690.71                                                *                            2,762.84          (29,794.87)
Jan 2024            690.71                                                *                            3,453.55          (29,794.87)
                                                                              Anticipated Transactions 3,453.55          (29,794.87)
Mar 2024                      49,731.12                                                                                   19,936.25
Apr 2024                         690.71                     747.87            County Tax                                  19,879.09
Apr 2024                                                    518.71            County Tax                                  19,360.38
Apr 2024                                                    553.47            City/Town Tax                               18,806.91
Apr 2024                                                    798.00            City/Town Tax                               18,008.91
                $8,288.52 $50,421.83          $8,288.54 $13,436.98

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 8,288.54. Under
Federal law, your lowest monthly balance should not have exceeded 1,381.42 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.
(The amount of surplus only exists if the loan is current, the analysis gives a projected overage as if all past due payments
are made the month the analysis is processed).




      Case 5:23-bk-00162-MJC                    Doc Filed 03/21/24 Entered 03/21/24 10:32:31                                        Page 2
                                                                                                                                 Desc
                                                Main Document   Page 4 of 8
Analysis Date: March 13, 2024                                                                                                                     Final
Borrower: ROBERTA GRAHAM                                                                                                            Loan:
                                                 Annual Escrow Account Disclosure Statement
                                                        Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                   Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated       Required
                                                              Starting Balance                              9,239.84        3,438.60
      May 2024               757.09                                                                         9,996.93        4,195.69
      Jun 2024               757.09                                                                       10,754.02         4,952.78
      Jul 2024               757.09                                                                        11,511.11        5,709.87
      Aug 2024               757.09                                                                       12,268.20         6,466.96
      Sep 2024               757.09       1,460.39            School Tax                                  11,564.90         5,763.66
      Sep 2024                              571.12            School Tax                                  10,993.78         5,192.54
      Oct 2024               757.09       4,435.46            Homeowners Policy                             7,315.41        1,514.17
      Nov 2024               757.09                                                                         8,072.50        2,271.26
      Dec 2024               757.09                                                                         8,829.59        3,028.35
      Jan 2025               757.09                                                                         9,586.68        3,785.44
      Feb 2025               757.09                                                                       10,343.77         4,542.53
      Mar 2025               757.09                                                                       11,100.86         5,299.62
      Apr 2025               757.09         747.87            County Tax                                  11,110.08         5,308.84
      Apr 2025                              518.71            County Tax                                  10,591.37         4,790.13
      Apr 2025                              798.00            City/Town Tax                                 9,793.37        3,992.13
      Apr 2025                              553.47            City/Town Tax                                 9,239.90        3,438.66
                         $9,085.08       $9,085.02

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 1,514.17. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 1,514.17 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 9,239.84. Your starting
      balance (escrow balance required) according to this analysis should be $3,438.60. This means you have a surplus of 5,801.24.
      (The amount of surplus only exists if the loan is current, the analysis gives a projected overage as if all past due payments
      are made the month the analysis is processed).

      This surplus must be returned to you unless it is less than $50.00, in which case we have the additional option of keeping
      it and lowering your monthly payments accordingly. As the loan is delinquent, we will not be sending a check for the surplus.

      We anticipate the total of your coming year bills to be 9,085.02. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




            Case 5:23-bk-00162-MJC                   Doc Filed 03/21/24 Entered 03/21/24 10:32:31                                      Page 3
                                                                                                                                    Desc
                                                     Main Document   Page 5 of 8
Analysis Date: March 13, 2024                                                                                                         Final
Borrower: ROBERTA GRAHAM                                                                                                Loan:

      New Escrow Payment Calculation
      Unadjusted Escrow Payment                     757.09
      Surplus Amount:                                 0.00
      Shortage Amount:                                0.00
      Rounding Adjustment Amount:                     0.00
      Escrow Payment:                              $757.09




    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
    history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
    Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




           Case 5:23-bk-00162-MJC               Doc Filed 03/21/24 Entered 03/21/24 10:32:31                               Page 4
                                                                                                                        Desc
                                                Main Document   Page 6 of 8
                          IN THE UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA


                                                   :
In re:                                             :
                                                   : Bankruptcy Case No. 5:23-bk-00162-MJC
Vincent Graham,                                    :
                        Debtor                     : Chapter: 13
                                                   :
SN Servicing Corporation as Servicer for U.S.      : Judge: Mark J Conway
Bank Trust National Association as Trustee for     :
the Igloo Series IV Trust,                         :
                       Movant                      :
                                                   :
Vincent Graham                                     :
Jack N Zaharopoulos - Trustee                      :
                    Respondents                    :
                                                   :
                                                   :

               CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE

        I certify under penalty of perjury that I served the above captioned pleading on the parties at
the addresses specified below or on the attached list on March 21, 2024.

        The type(s) of service made on the parties (first-class mail, electronic notification, hand delivery,
or another type of service) was first-class mail and electronic notification

        If more than one method of service was employed, this certificate of service groups the
parties by the type of service. For example, the full name, email address, and where applicable the
full name of the person or entity represented, for each party served by electronic transmission is
listed under the heading “Service by NEF,” and the full name and complete postal address for each
party served by mail, is listed under the heading “Service by First-Class Mail.”

EXECUTED ON: 03/21/2024



                                                  FRIEDMAN VARTOLO, LLP.

                                                  By: /s/ Lauren Moyer, Esq
                                                  Lauren Moyer, Esq
                                                  FRIEDMAN VARTOLO LLP
                                                  Attorneys for Movant
                                                  1325 Franklin Avenue, Suite 160
                                                  Garden City, New York 11530
                                                  T: (212) 471-5100
                                                  F: (212) 471-5150
                                                  Bankruptcy@FriedmanVartolo.com



Case 5:23-bk-00162-MJC             Doc Filed 03/21/24 Entered 03/21/24 10:32:31                      Desc
                                   Main Document   Page 7 of 8
                                         Service by NEF


     Jack N Zaharopoulos
     8125 Adams Drive, Suite A
     Hummelstown, PA 17036
     TRUSTEE

     Michael A. Cibik
     Cibik Law, P.C.
     1500 Walnut Street
     Suite 900
     Philadelphia, PA 19102
     DEBTORS’ COUNSEL

     United States Trustee
     US Courthouse
     1501 N. 6th St
     Harrisburg, PA 17102
     Asst. U.S. Trustee

                                    Service by First-Class Mail

     Vincent Graham
     585-587 McKinley St
     Hazleton, PA 18201-4009
     Debtor(s)




Case 5:23-bk-00162-MJC         Doc Filed 03/21/24 Entered 03/21/24 10:32:31   Desc
                               Main Document   Page 8 of 8
